                Case 2:18-cr-00061-JAM Document 41 Filed 07/19/19 Page 1 of 3


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 TIMOTHY H. DELGADO
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0061-JAM
12                                Plaintiff,            STIPULATION AND ORDER TO CONTINUE
                                                        STATUS CONFERENCE
13                          v.
                                                        Date:       July 23, 2019
14   ROLAND ADRIAN JUFIAR, and                          Time:       9:15 a.m.
     DAVID GARCIA ROMERO,                               Judge:      Hon. John A. Mendez
15
                                 Defendants.
16

17

18          Plaintiff United States of America, through its respective counsel, and defendants Roland Jufiar
19 and David Romero, through their counsel of record, stipulate that the status conference now set for July

20 23, 2019, be continued to August 6, 2019, at 9:15 a.m.1

21          On March 29, 2018, all three defendants were arraigned on the ten-count Indictment in this case.
22 (ECF Nos. 16, 19.) In the weeks following, the government produced discovery to the defense that

23 included over 530 pages of reports and memoranda, roughly 565 photos, and other items. In March 2019,

24 the government produced supplemental discovery that included over 1,100 photos, forensic extraction

25 reports for nine cellular telephones, and toll records for eleven cellular devices. Counsel for defendants

26 Jufiar and Romero require additional time to review the discovery materials, time to discuss it with their

27
            1
28            The third defendant in this case, Andre Ramon Washington, entered a guilty plea on June 25,
     2019. Judgment and sentencing in his case is set for October 1, 2019.
       STIPULATION AND (PROPOSED) ORDER                 1
      TO CONTINUE STATUS CONFERENCE
              Case 2:18-cr-00061-JAM Document 41 Filed 07/19/19 Page 2 of 3


 1 clients, to conduct research into potential suppression issues or motions to dismiss, to conduct additional

 2 investigation, and to otherwise prepare for trial.

 3          Based on the foregoing, the parties stipulate that the status conference now set for July 23, 2019,

 4 be continued to August 6, 2019, at 9:15 a.m. The parties further agree that time under the Speedy Trial

 5 Act should be excluded from the date the parties stipulated, up to and including August 6, 2019, under

 6 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General Order 479 [Local Code

 7 T4], based on continuity of counsel and defense preparation.

 8          The parties agree that the failure to grant a continuance in this case would deny defense counsel

 9 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

10 The parties also agree that the ends of justice served by the Court granting the requested continuance

11 outweigh the best interests of the public and the defendants in a speedy trial.

12                                                        Respectfully submitted,

13

14 Dated: July 19, 2019                                   _/s/ Timothy H. Delgado____________
                                                          TIMOTHY H. DELGADO
15                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
16

17 Dated: July 19, 2019                                   _/s/ THD for Megan Virga__________
                                                          MEGAN VIRGA
18                                                        Attorney for Defendant Roland Jufiar
19
     Dated: July 19, 2019                                 _/s/ THD for Ronald J. Peters________
20                                                        RONALD J. PETERS
                                                          Attorney for Defendant David Romero
21

22

23

24

25

26

27

28

      STIPULATION AND (PROPOSED) ORDER                   2
      TO CONTINUE STATUS CONFERENCE
               Case 2:18-cr-00061-JAM Document 41 Filed 07/19/19 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including August 6,

 9 2019, shall be excluded from computation of time within which the trial in this case must begin under the

10 Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General Order

11 479 [Local Code T4]. It is further ordered that the July 23, 2019 status conference be continued until

12 August 6, 2019, at 9:15 a.m.

13

14 Dated: July 19, 2019                                    /s/ John A. Mendez_____________
                                                           Hon. John A. Mendez
15                                                         United States District Court Judge
16

17

18

19

20

21

22

23

24

25

26

27

28

      STIPULATION AND (PROPOSED) ORDER                     3
      TO CONTINUE STATUS CONFERENCE
